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                                                       5    Attorneys for Trustee, Richard M Kipperman, Chapter 7 Trustee

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                                                       8                              UNITED STATES BANKRUPTCY COURT

                                                       9                              SOUTHERN DISTRICT OF CALIFORNIA

                                                      10    In Re:                                            Case No. 17-06078-MM7

                                                      11                                                      STIPULATION TO CONTINUE
                                                                                                              HEARING ON MOTION BY CHAPTER 7
                                                      12    CORE SUPPLEMENT TECHNOLOGY,                       TRUSTEE, RICHARD M KIPPERMAN,
                                                            INC.,                                             TO DISGORGE COMPENSATION PAID
                  15373 INNOVATION DRIVE, SUITE 210




                                                      13                                                      TO CHAPTER 11 CHIEF
                    SAN DIEGO, CALIFORNIA 92128
SLATER & TRUXAW




                                                                            Debtor.                           RESTRUCTURING OFFICER, RICHARD
                                                      14                                                      FEFERMAN

                                                      15                                                      PREVIOUS HEARING DATE: April 9, 2020
                                                                                                              TIME: 10:00 a.m.
                                                      16                                                      DEPT: 1, Room 218

                                                      17                                                      CONTINUED HEARING DATE: May 6, 2020
                                                                                                              TIME: 10:00 a.m.
                                                      18                                                      DEPT: 1, Room 218

                                                      19                                                      Honorable Margaret M. Mann

                                                      20             Chapter 7 Trustee RICHARD M KIPPERMAN (“the Trustee”), and Jason Dennis (“Mr.

                                                      21   Dennis”) on behalf of Chapter 11 Chief Restructuring Officer (“CRO”) Richard Feferman (“Mr.

                                                      22   Feferman”), hereinafter called the “Parties” (or, as to each of them, a “Party”) each by his/her

                                                      23   undersigned counsel of record or representative herein, hereby stipulate and agree as follows:

                                                      24             1.    Debtor filed its Petition for Relief under Chapter 11 of the United States Bankruptcy

                                                      25   Code on October 3, 2017. On March 30, 2018, this Court entered its Order approving the Debtor’s

                                                      26   Emergency Motion to sell assets free and clear of liens, to approve compromise pursuant to Rule

                                                      27   9019 and to approve assumption and assignment of customer orders (ECF No. 226).

                                                      28             2.    Thereafter, four days later, by Order of this Court (ECF No. 237), this case was
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                                                       1   converted to a chapter 7 case on April 3, 2018, thereby creating the chapter 7 estate (“Estate”).

                                                       2   Richard M Kipperman was appointed chapter 7 Trustee of the Estate by virtue of the Court’s Order

                                                       3   and is now so acting.

                                                       4          3.      On December 6, 2018, in response to the filing of the application for professional

                                                       5   fees filed by Slater & Truxaw, counsel for the Trustee, the Court issued a Tentative Ruling, (ECF

                                                       6   No. 288) which addressed its concerns about disgorgement of CRO Feferman’s fees, and modified

                                                       7   its order to ensure that his fees would be subject to disgorgement.

                                                       8          4.      Accordingly, on March 3, 2020, the Trustee through his undersigned counsel, filed

                                                       9   his Motion to Disgorge Compensation Paid to Chapter 11 Chief Restructuring Officer, Richard

                                                      10   Feferman, and supporting pleadings (“Motion to Disgorge,” ECF Nos. 371, et seq.)                  The

                                                      11   corresponding Notice of Hearing (ECF No. 372) referenced a hearing date of April 9, 2020, at 10:00

                                                      12   a.m.
                  15373 INNOVATION DRIVE, SUITE 210




                                                      13          5.      Due to a family vacation, Mr. Dennis requested, and the Trustee has agreed, to a
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                                                      14   continuance of the April 9, 2020 hearing on the Motion to Disgorge. The continued hearing on the

                                                      15   Motion to Disgorge has been rescheduled to now occur on May 6, 2020, at 10:00 a.m., in Department

                                                      16   1, Room 218.

                                                      17          6.      The Parties will file and serve a Status Report seven (7) days prior to the May 6, 2020

                                                      18   hearing date, or no later than April 29, 2020.

                                                      19          7.      This Stipulation may be executed simultaneously in one or more counterparts, each

                                                      20   of which shall be deemed an original, but all of which together shall be construed as one and the

                                                      21   same instrument. Facsimile copies of original signatures may be deemed to be the equivalent of an

                                                      22   original signature on any counterpart copy of this Stipulation.

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                                                       1          WHEREFORE, the Parties have each executed and agreed to the terms and conditions of

                                                       2   this Stipulation; and each respectfully requests that the Court approve this Stipulation, adopt its

                                                       3   terms and request the entry of an Order hereon.

                                                       4   IT IS SO STIPULATED.

                                                       5   Dated: March 12, 2020                        SLATER & TRUXAW, LLP

                                                       6
                                                                                                          /s/ Gary E. Slater
                                                       7                                        By:     GARY E. SLATER
                                                                                                        Attorneys for Richard M Kipperman, Chapter 7
                                                       8                                                Trustee

                                                       9   Dated: March 12, 2020                        LYNN PINKER COX HURST

                                                      10
                                                                                                By:      /s/ Jason Dennis
                                                      11                                                JASON DENNIS
                                                                                                        Attorneys for Richard Feferman, Chief Restructuring
                                                      12                                                Officer
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